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                Exhibit 4
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  HISPANIC OR LATINO, AND NOT HISPANIC OR LATINO BY RACE FOR THE POPULATION
                              18 YEARS AND OVER

Note: The table shown may have been modified by user selections. Some information may be missing.

DATA NOTES
TABLE ID:                     P4
SURVEY/PROGRAM:               Decennial Census
VINTAGE:                      2010
DATASET:                      DECENNIALPL2010
PRODUCT:                      DEC Redistricting Data (PL 94‐171)
UNIVERSE:                     Total population 18 years and over
FTP URL:                      https://www2.census.gov/census_2010/redistricting_file‐‐pl_94‐171/

API URL:                      https://api.census.gov/data/2010/dec/pl

USER SELECTIONS
TABLES                        P4
GEOS                          Texas

EXCLUDED COLUMNS              None

APPLIED FILTERS               None

APPLIED SORTS                 None

PIVOT & GROUPING
PIVOT COLUMNS                 None
PIVOT MODE                    Off
ROW GROUPS                    None
VALUE COLUMNS                 None

WEB ADDRESS                   https://data.census.gov/table?q=P4&g=040XX00US48&tid=DECENNIALPL2010.P4




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TABLE NOTES                   NOTE: Change to the
                              California,Connec cut,Mississippi,New Hampshire,Virginia, and
                              Washington P. L. 94‐171 Summary Files as delivered.

                              NOTE: For information on confidentiality protection, nonsampling error, and definitions, see
                              http://www.census.gov/prod/cen2010/pl94‐171.pdf
                              Source: U.S. Census Bureau, 2010 Census.

COLUMN NOTES                  None




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  Label                              Texas
Total:                             18,279,737
 Hispanic or Latino                6,143,144
 Not Hispanic or Latino:           12,136,593
   Population of one race:         11,963,907
     White alone                   9,074,684

    Black or African American alone 2,076,282
    American Indian and Alaska
    Native alone                    61,856
    Asian alone                     716,968
    Native Hawaiian and Other
    Pacific Islander alone          12,912
    Some Other Race alone           21,205
   Two or More Races:               172,686
    Population of two races:        161,886
      White; Black or African
      American                      26,192
      White; American Indian and
      Alaska Native                 53,599
      White; Asian                  41,668
      White; Native Hawaiian and
      Other Pacific Islander        3,182
      White; Some Other Race        6,275
      Black or African American;
      American Indian and Alaska
      Native                        8,516
      Black or African American;
      Asian                         5,242
      Black or African American;
      Native Hawaiian and Other
      Pacific Islander              1,169




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  Label                               Texas
      Black or African American;
      Some Other Race                2,848
      American Indian and Alaska
      Native; Asian                  1,952
      American Indian and Alaska
      Native; Native Hawaiian and
      Other Pacific Islander         155
      American Indian and Alaska
      Native; Some Other Race        371
      Asian; Native Hawaiian and
      Other Pacific Islander         3,398
      Asian; Some Other Race         7,026
      Native Hawaiian and Other
      Pacific Islander; Some Other
      Race                           293
     Population of three races:      9,748
      White; Black or African
      American; American Indian
      and Alaska Native              4,900
      White; Black or African
      American; Asian                715
      White; Black or African
      American; Native Hawaiian
      and Other Pacific Islander     108
      White; Black or African
      American; Some Other Race      395
      White; American Indian and
      Alaska Native; Asian           714
      White; American Indian and
      Alaska Native; Native
      Hawaiian and Other Pacific
      Islander                       158


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  Label                               Texas
      White; American Indian and
      Alaska Native; Some Other
      Race                           276
      White; Asian; Native
      Hawaiian and Other Pacific
      Islander                       1,174
      White; Asian; Some Other
      Race                           387
      White; Native Hawaiian and
      Other Pacific Islander; Some
      Other Race                     47
      Black or African American;
      American Indian and Alaska
      Native; Asian                  201
      Black or African American;
      American Indian and Alaska
      Native; Native Hawaiian and
      Other Pacific Islander         51
      Black or African American;
      American Indian and Alaska
      Native; Some Other Race        122
      Black or African American;
      Asian; Native Hawaiian and
      Other Pacific Islander         188
      Black or African American;
      Asian; Some Other Race         157
      Black or African American;
      Native Hawaiian and Other
      Pacific Islander; Some Other
      Race                           39




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  Label                                  Texas
      American Indian and Alaska
      Native; Asian; Native
      Hawaiian and Other Pacific
      Islander                       32
      American Indian and Alaska
      Native; Asian; Some Other
      Race                           22
      American Indian and Alaska
      Native; Native Hawaiian and
      Other Pacific Islander; Some
      Other Race                     8
      Asian; Native Hawaiian and
      Other Pacific Islander; Some
      Other Race                     54
     Population of four races:       801
      White; Black or African
      American; American Indian
      and Alaska Native; Asian       346
      White; Black or African
      American; American Indian
      and Alaska Native; Native
      Hawaiian and Other Pacific
      Islander                       34
      White; Black or African
      American; American Indian
      and Alaska Native; Some
      Other Race                     175
      White; Black or African
      American; Asian; Native
      Hawaiian and Other Pacific
      Islander                       56




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  Label                              Texas
      White; Black or African
      American; Asian; Some Other
      Race                         26
      White; Black or African
      American; Native Hawaiian
      and Other Pacific Islander;
      Some Other Race              1
      White; American Indian and
      Alaska Native; Asian; Native
      Hawaiian and Other Pacific
      Islander                     92
      White; American Indian and
      Alaska Native; Asian; Some
      Other Race                   7
      White; American Indian and
      Alaska Native; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race    1
      White; Asian; Native
      Hawaiian and Other Pacific
      Islander, Some Other Race    18
      Black or African American;
      American Indian and Alaska
      Native; Asian; Native
      Hawaiian and Other Pacific
      Islander                     13
      Black or African American;
      American Indian and Alaska
      Native; Asian; Some Other
      Race                         5




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  Label                                  Texas
      Black or African American;
      American Indian and Alaska
      Native; Native Hawaiian and
      Other Pacific Islander; Some
      Other Race                     4
      Black or African American;
      Asian; Native Hawaiian and
      Other Pacific Islander; Some
      Other Race                     21
      American Indian and Alaska
      Native; Asian; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race      2
     Population of five races:       235
      White; Black or African
      American; American Indian
      and Alaska Native; Asian;
      Native Hawaiian and Other
      Pacific Islander               203
      White; Black or African
      American; American Indian
      and Alaska Native; Asian;
      Some Other Race                12
      White; Black or African
      American; American Indian
      and Alaska Native; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race      3
      White; Black or African
      American; Asian; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race      5


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  Label                                  Texas
      White; American Indian and
      Alaska Native; Asian; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race      9
      Black or African American;
      American Indian and Alaska
      Native; Asian; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race      3
     Population of six races:        16
      White; Black or African
      American; American Indian
      and Alaska Native; Asian;
      Native Hawaiian and Other
      Pacific Islander; Some Other
      Race                           16




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